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                                     EXHIBIT G
                          UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF OHIO (DAYTON)

In re:                                                Case No. 19-31718

SHONDA GILMORE                                        Chapter 7


                       Debtor.                        Judge Guy Humphrey



                      RELIEF FROM STAY/ADEQUATE PROTECTION
                       EXHIBIT AND WORKSHEET – REAL ESTATE

Real Property which is the subject of this motion: 3288 Ambassador Drive, Beavercreek, OH
45432

DEBT / VALUE REPRESENTATIONS:
Total indebtedness of the debtors at the time of filing the
motion for relief from stay (not to be relied upon as a payoff quotation):   $176,637.12

Movant’s estimated market value of the real property                         $136,170.00

Source of the estimated valuation: County Auditor valuation.

STATEMENT OF ARREARAGE:
     (1) As of petition filing date:                                         $40,752.32

                       Amounts paid after the date to
                       be applied to the prepetition default:                $0.00

         (2)   Post-petition:                                                $3,309.99

         (3)   Monthly payment amount:                                       $999.96

         (4)   Date of Last Payment:                                         July 13, 2018

         (5)   Amount of Last Payment:                                       $485.00


# of payments due postpetition 3 (through 8/1/19)

# of payments received postpetition 0

                                                 1
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# of payments in default post-petition 3

Total amount of postpetition payments currently in default:               $3,309.99

       +       Postpetition late charges                                  $85.62
       +       Other Postpetition Arrearage                               $0.00
       +       Total Postpetition Arrearage                               $3,395.61

OTHER LOAN INFORMATION

       Date of the Loan:                                                April 2, 2012


       Current Interest Rate:                                           4.125%


       Money paid to and held by the mortgagee but not applied to the loan N/A; if held in the
form of checks, balance of such checks $0.00, and identity of holder of the checks N/A.




Worksheet Prepared By:

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